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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF TENNESSEE
                                WESTERN DIVISION


JANIS SHUMWAY,

       Plaintiff,

v.                                                          2:21-cv-02303-SHL-atc

KAMLESHBHAI J PATEL d/b/a OAKLAND INN, and
CHAYA K ETUX d/b/a OAKLAND INN, Individually,

       Defendants.


                    DEFENDANTS’ MOTION TO DISMISS COMPLAINT


       Pursuant to Rules 12(b)(1), 12(b)(4), 12(b)(5), and 12(b)(6) of the Federal Rules of Civil

Procedure, Defendants Kamleshbhai J. Patel d/b/a Oakland Inn and Chhaya Patel (incorrectly

identified in the Complaint as Chaya K. Etux) d/b/a Oakland Inn, Individually, (collectively,

“Defendants”) move this Court for an Order dismissing the Complaint of Plaintiff Janis Shumway

(“Shumway”) on the grounds Shumway lacks standing and, therefore, the Court lacks subject

matter jurisdiction over this action. Further, Shumway failed to correctly name and, therefore,

correctly issue process as to Mrs. Patel; failed to personally serve process upon Mrs. Patel; and,

therefore, neither issuance nor service of process is sufficient as to Mrs. Patel. Further, the

Complaint fails to state a claim upon which relief may be granted as a matter of law.

       In support of their motion, Defendants rely upon their Memorandum of Law filed

simultaneously herewith and the entire record of this cause. The following exhibit is attached and

incorporated into this motion:

       A.      List of Lawsuits Filed by Plaintiff Janis Shumway Since October 30, 2020.
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       Dated: June 10, 2021.
                                    Respectfully submitted,

                                    HARRIS SHELTON HANOVER WALSH, PLLC

                                    By: /s/ Henry B. Talbot
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                                    Attorneys for Defendants

                                CERTIFICATE OF SERVICE

       I certify that on the 10th day of June 2021, a true and correct copy of the foregoing was
served via the Court’s ECF system to the following:
Kimberly A. Corkill
Thomas B. Bacon, P.A.
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Pensacola, FL 32502
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                                            /s/ Henry B. Talbot




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